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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
GEORGE PRUE, |
Plaintiff,
Case No. C07-1859RSL
Vv.
COURT’S INSTRUCTIONS
UNIVERSITY OF WASHINGTON, TO THE JURY
Defendant.

 

 

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DATED this day of June, 2009.
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Robert 8. Lasmik
United States District Judge

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07-CV-01859-CLM

 

 
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INSTRUCTION NO. 1: DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW

Members of the jury, now that you have heard all the evidence, it is my duty to instruct
you on the law which applies to this case. Each of you has received a copy of these instructions

that you may take with you to the jury room to consult during your deliberations.

You must not infer from these instructions or from anything I may say or do as indicating

that I have an opinion regarding the evidence or what your verdict should be.

It is your duty to find the facts from all the evidence in the case. To those facts you will
apply the law as I give it to you. You must follow the law as I give it to you whether you agree
with it or not. You must not be influenced by any personal likes or dislikes, opinions,
prejudices, or sympathy. That means that you must decide the case solely on the evidence before

you. You will recall that you took an oath to do so.

In following my instructions, you must follow all of them and not single out some and

ignore others; they are all important.

 

 

 
 

 

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INSTRUCTION NO. 2: WHAT IS EVIDENCE

The evidence you are to consider in deciding what the facts are consists of:
(1) the sworn testimony of any witness;
(2) the exhibits which are received into evidence; and

(3) any facts to which the lawyers stipulate.

 
 

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INSTRUCTION NO. 3: WHAT IS NOT EVIDENCE

In reaching your verdict, you may consider only the testimony and exhibits received into
evidence. Certain things are not evidence, and you may not consider them in deciding what the

facts are. I will list them for you:

(1) Arguments and statements by lawyers are not evidence. The lawyers are not
witnesses. What they have said in their opening statements, will say in their closing arguments,
and at other times is intended to heip you interpret the evidence, but it is not evidence. If the
facts as you remember them differ from the way the lawyers have stated them, your memory of

them controls.

(2) Questions and objections by lawyers are not evidence. Attorneys have a duty to their
chents to object when they believe a question is improper under the rules of evidence. You

should not be influenced by the objection or by the Court’s ruling on it.

(3) Testimony that has been excluded or stricken, or that you have been instructed to
disregard, is not evidence and must not be considered. In addition, some testimony and exhibits
have been received only for limited purpose; where I have given a limiting instruction, you must

follow it.

(4) Anything you may have seen or heard when the Court was not in session is not

evidence. You are to decide the case solely on the evidence received at the trial.

 

 
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1 INSTRUCTION NO. 4: DIRECT AND CIRCUMSTANTIAL EVIDENCE
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3 Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such
4 || as testimony by a witness about what the witness personally saw or heard or did. Circumstantial
5 || evidence is proof of one or more facts from which you could find another fact. You should
6 || consider both kinds of evidence. The law makes no distinction between the weight fo be given
7 || to either direct or circumstantial evidence. It is for you to decide how much weight to give to
8 || any evidence.
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INSFRUCTION NO. 5: CREDIBILITY OF WITNESSES

In deciding the facts in this case, you may have io decide which testimony to believe and
which testimony not to believe. You may believe everything a witness says, or part of it, or none

of it.
In considering the testimony of any witness, you may take into account:
(1) the opportunity and ability of the witness to see or hear or know the things testified to;
(2) the witness’s memory;
(3) the witness’s manner while testifying:
(4) the witness’s interest in the outcome of the case and any bias or prejudice;
(5) whether other evidence contradicted the witness’s testimony;
(6) the reasonableness of the witness’s testimony in light of all the evidence; and
(7) any other factors that bear on believability.

The weight of the evidence as to a fact does not necessarily depend on the number of

witnesses who testify.

 

 
 

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INSTRUCTION NO. 6: EXPERT OPINION

Some witnesses, because of education or experience, are permitted to state opinions and
the reasons for those opinions.

Opinion testimony should be judged just like any other testimony. You may accept it or
reject it, and give it as much weight as you think it deserves, considering the witness’s education

and experience, the reasons given for the opinion, and all the other evidence in the case.

 

 
 

 

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INSTRUCTION NO. 7: USE OF NOTES

Some of you have taken notes during the trial. Whether or not you took notes, you should
rely on your own memory of what was said. Notes are only to assist your memory. You should

not be overly influenced by the notes.

 

 
 

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INSTRUCTION NO. 8: BURDEN OF PROOF — PREPONDERANCE OF THE
EVIDENCE

When a party has the burden of proof on any claim or affirmative defense by a
preponderance of the evidence, it means you must be persuaded by the evidence that the claim or

affirmative defense is more probably true than not true.

You should base your decision on all of the evidence, regardless of which party presented

it.

 

 
 

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INSTRUCTION NO. 9: CLAIMS AND DEFENSES

The following is a summary of the claims and defenses of the parties provided to help you
understand the issues in the case. You are not to take this instruction as proof of the matters
claimed. It is for you to decide, based upon the evidence presented, whether a claim or defense
has been proved.

Plaintiff is George Prue. The defendant is the University of Washington. —

In August 2005, the University’s Department of Medical Education and Biomedical
Informatics, also referred to as “MEBI,” sought assistance from the University’s temporary
staffing program, known as “U-Temps,” to fill a vacant position for an Administrative
Coordinator. A University employee interviewed plaintiff, but he was not chosen for the
Administrative Coordinator position.

Mr. Prue claims that he was discriminated against on the basis of his race (African-
American) and his age (fifty-three years old in August, 2005) when the University refused to hire
him for the Administrative Coordinator position. Plaintiff also claims that he was discriminated
against on the basis of his race when the University referred him only to manual labor positions.
He also claims the University retaliated against him after he complained about discrimination.
Plaintiff has the burden of proving his claims by a preponderance of the evidence.

The defendant denies plaintiffs claims and asserts that it had legitimate business reasons

for the decisions that it made.

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INSTRUCTION NO. 10: UNIVERSITY DEFENDANT AND FAIR TREATMENT

The University of Washington can only act through others, including its employees.
Therefore, the University is responsible for the acts of its employees performed within the scope
of their authority. Rachael Hogan, Aaron Hinkhouse, Joanne Suffis, Sheryl Vick, Terry
Bustamonte, and Laura Andrews were employees of defendant during the relevant time period.

The fact that the defendant is the University of Washington should not affect your
decision. All parties are equal before the law and the University is entitled to the same fair and

conscientious consideration by you as any party.

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INSTRUCTION NO. 11: NATURE OF TITLE VII, ADEA, AND WLAD CLAIMS

Plaintiff has brought this lawsuit under two federal laws: (1) Title VII of the Civil Rights
Act of 1964, which is often referred to as “Title VII,” and (2) the Age Discrimination in
Employment Act of 1967, which is often referred to by its initials “ADEA.” Plaintiff has also
brought a claim under a state law, the Washington Law Against Discrimination, sometimes
referred to as the “WLAD.” These laws prohibit employers from discriminating against
employees or retaliating against them. Specifically, Title VII prohibits discrimination based on
race, and the ADEA prohibits discrimination based on age. The WLAD prohibits discrimination
based on either race or age. .

As you listen to these instructions, please keep in mind that many of the terms used have a
special meaning under the law. Please remember to consider the specific definitions in these

instructions, rather than using your own opinion as to what these terms mean.

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INSTRUCTION NO. 12: TITLE VII AND ADEA CLAIMS — DIFFERENT
TREATMENT -—- “MOTIVATING FACTOR”

Mr. Prue has brought federal claims of employment discrimination against the University
of Washington under Title VII and the ADEA. He claims that his race and/or his age were
motivating factors for the University’s failure to hire him for the position of Administrative
Coordinator, and that his race was a motivating factor for the University’s referral of him only to
manual labor positions. The University denies that Mr. Prue’s race or age were motivating
factors and further claims that its decisions were based on lawful reasons.

A “motivating factor” is a factor that played a part in the University’s decision not to hire
plaintiff for the position of Administrative Coordinator and/or to refer him only to manual labor

positions.

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INSTRUCTION NO. 13: TITLE VII — DIFFERENT TREATMENT — ELEMENTS
AND BURDEN OF PROOF

As to Mr. Prue’s federal claim that his race was a motivating factor for the University’s
failure to hire him as Administrative Coordinator and referral of him to only manual labor
positions, he has the burden of proving each of the following elements by a preponderance of the
evidence:

(1) Mr. Prue was not hired as Administrative Coordinator by the University or was

referred only to manual labor positions, and

(2) Mr. Prue’s race was a motivating factor in the University’s failure to hire him for

the Administrative Coordinator position or its referral of him only to manual labor

positions.

If you find that Mr. Prue has proved both of these elements, then your verdict should be
for the plaintiff on this claim. If you find that Mr. Prue has failed to prove either of these

elements, then your verdict should be for the defendant on this claim.

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INSTRUCTION NO. 14: ADEA —- DIFFERENT TREATMENT - ELEMENTS AND
BURDEN OF PROOF

As to Mr. Prue’s federal claim that his age was a motivating factor for the University’s
failure to hire him as Administrative Coordinator, he has the burden of proving each of the
following elements by a preponderance of the evidence:

(1) Mr. Prue was not hired as Administrative Coordinator by the University;

(2) Mr. Prue was 40 years of age or older at the time he was not hired for the

Administrative Coordinator position; and

(3) Mr. Prme’s age was a motivating factor in the University’s failure to hire him for

the Administrative Coordinator position.

If you find that Mr. Prue has proved all three of these elements, then your verdict should be
for the plaintiff on this claim. If you find that Mr. Prue has failed to prove any of these elements,
then your verdict should be for the defendant on this claim.

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INSTRUCTION NO. 15: WLAD DISCRIMINATION CLAIM — ELEMENTS AND
BURDEN OF PROOF

Mr. Prue has brought Washington state law claims of employment discrimination against
the University. He claims that his race and/or age were substantial factors for the University’s
failure to hire him for the position of Administrative Coordinator. He also claims that his race
was a substantial factor in the University’s decision to refer him only to manual labor positions.
The University denies that Mr. Prue’s race or age was a substantial factor for those decisions and
further claims that its actions were based on lawful reasons.

To prevail on his WLAD claim, plaintiff must prove, by a preponderance of the evidence,
both of these two elements:

(1) Mr. Prue was not hired as for the Administrative Coordinator position by the
University and/or was referred only to manual labor positions; and

(2) Mr. Prue’s race and/or age was a substantial factor in the University’s failure to hire
him for the Administrative Coordinator position, or that Mr. Prue’s race was a substantial factor
in the University’s referral of him only to manual labor positions.

It is for you to decide whether plaintiff's race and/or age was a substantial factor for the
defendant’s decision not to hire him for the Administrative Coordinator position, and whether
plaintiff's race was a substantial factor in defendant’s referral of plaintiff only to manual labor
positions. If you find that the plaintiff has proved both of the above elements, your verdict
should be for plaintiff on this claim. If, on the other hand, plaintiff has failed to prove either of
these elements, your verdict should be for the defendant on this claim.

“Substantial factor” means a significant motivating factor in bringing about the
employer’s decision. “Substantial factor” does not mean that race and/or age was the only factor
or the main factor in the defendant’s decision not to hire plaintiff as Administrative Coordinator,
or that but for plaintiff’s race and/or age, defendant would have hired plaintiff for the position.

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1 | “Substantial factor” does not mean that race was the only factor or the main factor in defendant’s
2 | decision to refer plaintiff only to manual labor positions, or that but for plaintiff's race,

3 | defendant would not have taken that action.

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INSTRUCTION NO. 16: WLAD RETALIATION CLAIM —- ELEMENTS AND BURDEN
OF PROOF

Mr. Prue also asserts a claim against the University of Washington for retaliation under
the WLAD. It is unlawful for an employer to retaliate against a person for opposing what the
person reasonably believed to be discrimination on the basis of race or for providing information
to or participating in a proceeding to determine whether discrimination or retaliation occurred.

To establish a claim of unlawful retaliation by the University, Mr. Prue has the burden of
proving all of the following propositions:

(1) Mr. Prue was opposing what he reasonably believed to be discrimination on the basis
of race;

(2) the University took an adverse employment action against Mr. Prue; and

(3) retaliation was a substantial factor behind the adverse employment action.

If you find from your consideration of all of the evidence that ail of these propositions has
been proved, then your verdict should be for the plaintiff on this claim. On the other hand, if any
of these propositions has not been proved, your verdict should be for the defendant on this claim.

The plaintiff does not have to prove that his opposition was the only factor or the main
factor in defendant’s decision, nor does plaintiff have to prove that but for his opposition
defendant would not have taken an adverse employment action.

An action is an “adverse employment action” if a reasonable employee would have found
the action materially adverse, which means it might have dissuaded a reasonable worker from

making or supporting a charge of discrimination.

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INSTRUCTION NO. 17; MEASURE OF DAMAGES

It is the duty of the Court to instruct you as to the measure of damages. By instructing
you on damages the Court does not mean to suggest for which party your verdict should be
rendered.

If you find for Mr. Prue on any of his claims, then you must determine the amount of
money that will reasonably and fairly compensate the plaintiff for such damages as you find
were caused by the defendant’s actions.

You should consider the following damages elements:

(1) Back Pay: Back pay includes any lost pay and employee benefits Mr. Prue would
have received from the date the University failed to hire him as Administrative Coordinator to
the date of trial. Mr. Prue has the burden of proving both the existence and the amount of back
pay by a preponderance of the evidence; and

(2) Compensatory Damages: The emotional harm to Mr. Prue caused by the defendant’s
wrongful conduct, including emotional distress, loss of enjoyment of life, humiliation, pain and
suffering, personal indignity, embarrassment, fear, anxiety, and/or anguish experienced and with
reasonable probability to be experienced by Mr. Prue in the future.

The burden of proving damages rests upon the plaintiff. It is for you to determine, based
upon the evidence, whether any particular element has been proved by a preponderance of the
evidence.

Your award must be based upon evidence and not upon speculation, guesswork or
conjecture. The law has not furnished us with any fixed standards to measure emotional distress,
humiliation, loss of enjoyment of life, personal indignity, embarrassment anxiety or anguish.
With reference to these matters, you must be governed by your own judgment, by the evidence in

the case, and by these instructions.

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INSTRUCTION NO. 18: DAMAGES — MITIGATION

Mr. Prue has a duty to use reasonable efforts to mitigate his compensatory damages and
his back pay damages. To mitigate means to avoid or reduce damages. If you find for plaintiff
on any of his claims, you must determine whether the University has proven that he failed to

mitigate his damages.

To establish a failure to mitigate compensatory damages, the University has the burden of
proving:

(1) That Mr. Prue failed to use reasonable efforts to mitigate damages; and

(2) The amount by which damages would have been mitigated.

If you find that the defendant has proved both elements 1 and 2 above, you should reduce

your award of compensatory damages accordingly.

To establish a failure to mitigate back pay damages, the University has the burden of
proving:

(A) | There were openings in comparable positions available for plaintiff elsewhere
after defendant refused to hire him;

(B) Plaintiff failed to use reasonable care and diligence in seeking those openings; and

(C) The amount by which damages would have been reduced if plaintiff had used
reasonable care and diligence in seeking those openings.

If you find that the defendant has proved elements A, B, and C above, you should reduce

your award of damages for back pay accordingly. You should take into account the

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characteristics of the plaintiff and the job market in evaluating the reasonableness of the

plaintiff’s efforts to mitigate back pay damages.

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INSTRUCTION NO. 19: DAMAGES — INTERIM EARNINGS

If you award damages for back pay to Mr. Prue, the amount of the award must be reduced
by the amount of pay Mr. Prue earned from other employment or the amount of pay Mr. Prue

could have earned with reasonable diligence as set forth in the previous instruction regarding

mitigation.

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1 INSTRUCTION NO. 20: DUTY TO DELIBERATE
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4 When you begin your deliberations, you should elect one member of the jury as your
5 presiding juror. That person will preside over the deliberations and speak for you here in Court.
© | You will then discuss the case with your fellow jurors to reach agreement if you can do so. Your
7 | verdict must be unanimous.
8 Each of you must decide the case for yourself, but you should do so only after you have
” | considered all of the evidence, discussed it fully with the other jurors, and listened to the views
10} of your fellow jurors.
i Do not be afraid to change your opinion if the discussion persuades you that you should.
I Do not come to a decision simply because other jurors think it is right.
13 It is important that you attempt to reach a unanimous verdict but, of course, only if each
4 of you can do so after having made your own conscientious decision. Do not change an honest
IS belief about the weight and effect of the evidence simply to reach a verdict.
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INSTRUCTION NO. 21: COMMUNICATION WITH THE COURT

If it becomes necessary during your deliberations to communicate with me, you may send
a note through the clerk, signed by your presiding juror or by one or more members of the jury.
No member of the jury should ever attempt to communicate with me except by a signed writing;
and I will communicate with any member of the jury on anything concerning the case only in
writing, or here in open Court. If you send out a question, I will consult with the parties before
answering it, which may take some time. You may continue your deliberations while waiting for
the answer to any question. Remember that you are not to tell anyone—including me—how the

jury stands, numerically or otherwise, until after you have reached a unanimous verdict or have

been discharged. Do not disclose any vote count in any note to the Court.

 

 
 

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INSTRUCTION NO. 22: RETURN OF VERDICT

A special verdict form has been prepared for you. The special verdict form consists of
several questions for you to answer. You must answer the questions in the order in which they
are written, and according to the directions on the form. It is important that you read all the
questions before you begin answering, and that you follow the directions exactly. Your answer
to some of the questions will determine whether you are to answer all, some, or none of the
remaining questions.

After you have reached unanimous agreement on a verdict, your presiding juror will fill in
the form that has been given to you, sign and date it, and advise the Court that you are ready to

return to the courtroom.

COURT’S INSTRUCTIONS TO THE JURY -25-

 
